                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION


WALTER YOCHIM,                                       CV 19–45–M–DWM

                    Plaintiff,

       vs.                                                  ORDER

ENGINEERED STRUCTURES, INC. and
DOES 1-10, Inclusive,

                    Defendants.


     The parties having filed a stipulation for dismissal pursuant to Rule 41(a),

     IT IS ORDERED that the above-captioned cause is DISMISSED WITH

PREJUDICE, each party to pay its own costs. All pending motions are MOOT and

all deadlines are VACATED.

     DATED this     4th            May
                          day of ____________, 2020.



                                      ___________________________10:44 AM
                                      ___________________________
                                      Donald W. Mol
                                                 Molloy,   District
                                                     lloy, Disttric Judge
                                                    District
                                      United States D         Court
                                                      istrict Cour
